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   5
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   6 MILLER, ALEJANDRO LOMELI and MARC ELIZONDO
   7
                                  UNITED STATES DISTRICT COURT
   8
                 CENTRAL DISTRICT OF CALIFORNIA,WESTERN DIVISION
   9
  10
        CHRISTOPHER GRAY,                       CASE NO. CV 13-7597 CAS-FFMx
  -11                                           [Hon. Christina A. Snyder]
                         Plaintiff,
  12                                            DECLARATION OF EDWARD L.
                 v.                             HSU RE: CASE STATUS
  13                                            CONFERENCE
     COUNTY OF LOS ANGELES,LEE
  14 BACA,GREGORY RODRIGUEZ,
     MONICA FARIAS,STEVEN                       Date:      March 30, 2015
  15 MILLER, ALEJANDRO LOMELI,                  Time       11:00 a.m.
     MARC ELIZONDO AND DOES 1                   Location: Courtroom 5, 312 N Spring
  16 THROUGH 10, inclusive,                     St, Los Angeles, CA 90012

  17                     Defendants.
                                                Action Filed:    October 15, 2013
  18                                            Trial Date:      May 12, 2015

  19
  20 ~ TO THIS HONORABLE COURT,THE PARTIES AND THEIR
  21 I ATTORNEYS OF RECORD:
  22             Defendants COUNTY OF LOS ANGELES,COUNTY OF LOS ANGELES,
  23 ~ LEE BACA,STEVEN MILLER, ALEJANDRO LOMELI and MARC ELIZONDO
  24 submit the following information in regards to the case status conference scheduled
  25 ~ for March 30, 2015:
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  27
  28
         HOA.1144429.1                                           CV 13-7597 C.AS-FFMx
        DECLARATION RE: CASE
        STATUS CONFERENCE
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   1           On January 16, 2015,the parties settled the matter pending approval of by the
   2 Los Angeles County Claims Board and the Los Angeles County Board of
   3 Supervisors. (See Docket #47) Currently, Defendants anticipate that the settlement
   4 would come before the Los Angeles County Claims Board for the initial level of
   5 approval in approximately four and a half months from the date ofthis filing(See
   6 Declaration of Edward L. Hsu("Hsu Decl."), ¶ 2) If approved, the matter is
   7 expected to come before the Los Angeles Board of Supervisors approximately one
   8 month thereafter. (Hsu Decl., ¶ 3) Ifthe settlement is approved by the Los Angeles
   9 County Board of Supervisors, payment could be coordinated and delivered
  10 approximately one week after such approval. (Hsu Decl., ¶ 4)
  11
  12 DATED: March 26, 2015                    Respectfully submitted,
  13                                          MARK J. S.ALADINO
  14                                          County Counsel
  15
  16
                                                         /s/
  17                                                 EDWARD L. HSU
  18                                                 Deputy County Counsel
  19                                          Attorneys for Defendants COUNTY OF LOS
  20                                          ANGELES,LEE BACA,STEVEN MILLER,
                                              ALEJANDRO LOMELI and MARC
  21                                          ELIZONDO
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       HOA.1144429.1                                                  (~V I ~-7_S97 CAS-FFM
       DECLARATION RE: CASE                       -2-
       STATUSCONFERENCE
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   1                           DECLARATION OF EDWARD L. HSU
   2           I, Edward L. Hsu, declare as follows:
   3           1.      Tam an attorney duly admitted to practice before this Court. I am a
   4 ~ Deputy County Counsel in the office ofthe Los Angeles County Counsel, attorneys
   5 (ofrecord for the Defendants COUNTY OF LOS ANGELES,LEE BACA,STEVEN
   6 ~ MILLER,ALEJANDRO LOMELI and MARC ELIZONDO. I have personal
   7 knowledge of the facts set forth herein, except as to those stated on information and
   8 belief and, as to those, I am informed and believe them to be true. If called as a.
   9 witness, I could and would competently testify to the matters stated herein.
  10           2.      On March 26, 201S, I was informed and believed that this matter would
  11 ~ be ready to come before the Los Angeles County Claims Board in approximately
  12 four and a half months.
  13           3.      Ifthe settlement is approved by the- Los Angeles County Claims Board,
  14 ~ I am informed and believe the settlement will be presented to the Los Angeles
  15! County Board of Supervisors approximately one month thereafter.
  16           4.      I am informed and believe that if the Los Angeles County Board of
  17' Supervisors approves the settlement, it will take approximately one week to obtain
  18 and deliver the settlement payment to Plaintiffs counsel.
  19           I declare under penalty of perjury under the laws ofthe United States of
  20 America that the foregoing is true and correct.
  21           Executed on March 26, 2015, at Los Angeles, California.
  22
  23
                                                    Edward L. Hsu
  24
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       HOA.1144429.1                                                    C'V13-7597 C;AS-FFM
       DECLARATION RE: CASE                        -3-
       STATUS CONFERENCE
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   1                                            PROOF OF SERVICE
                                                 Case No. CV 13-7597
   2
         STATE OF CALIFORNIA, County of Los Angeles:
   3
             Nicole N. Thomas states: I am employed in the County of Los Angeles, State of
   4 California, over the age of eighteen years and not a party to the within action. My business

   5 address is 648 Kenneth Hahn Hall of Administration, 500 West Temple Street, Los Angeles,
      California 90012-2713
   6
             That on March 26, 2015 I served the attached
   7
             DECLARATION OF EDWARD L. HSU RE: CASE STATUS CONFERENCE
   8
      upon Interested Party(ies) by placing ❑the original D a true copy thereof enclosed in a sealed
   9 .envelope addressed ❑ as follows D as stated on the attached service list:
      Olu K. Orange,Esq.
  10
      Orange Law Offices
  11 3435 Wilshire Blvd., Suite 2910
      Los Angeles, CA 90010
  12
      Gilbert M. Nishimura, Esq.
  13 Seki, Nishimura,& Watase,LLP

  14 .605 W.Olympic Blvd., Suite 900
      Los Angeles, CA 90015
  15
             D By United States mail. I enclosed the documents in a sealed envelope or package
  16         addressed to the persons at the addresses on the attached service list (specify one):

  17             (1) ❑deposited the sealed envelope with the United States Postal Service, with the
                        postage fully prepaid.
  18
                 (2) D placed the envelope for collection and mailing, following ordinary business
  19
                       practices. I am readily familiar with this business's practice for collecting and
  20                   processing correspondence for mailing. On the same. day that correspondence is
                       placed for collection and mailing, it is deposited in the ordinary course of business
  21                   with the United States Postal Service, in a sealed envelope with postage fully
                       prepaid.
  22'
                           I am a resident or employed in the county where the mailing occurred. The
  23 I                     envelope or package was placed in the mail at Los Angeles, California:
  24
            I declare that I am employed in the offices of a member of this court at whose.direction the
  25 service was made.

  26              Executed on March 26, 2015, at Los Angeles, California.
                                                                      f'     ``
  27

  28                      Nicole N. Thomas                                                 -~..


         HOA.I 144544.1
